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                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
        Doe I, Doe II, Ivy He, Doe III, Doe IV,
        Doe V, Doe VI, Roe VII, Charles Lee, Roe VIII,
        Liu Guifu, and those individuals similarly
        situated,
                                                                    Case No. 5:11-cv-02449-JF
                               Plaintiff(s),
                                                                    ADR CERTIFICATION BY
                                                                    PARTIES AND COUNSEL
               v.

        Cisco Systems, Inc., John Chambers,
        Thomas Lam, Owen Chan,
        and Does 1-100,
        Defendant(s).
                                                 /


                Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies
        that he or she has:

                (1) Read the handbook entitled “Dispute Resolution Procedures in the Northern District
        of California” on the Court’s ADR Internet site www.adr.cand.uscourts.gov (Limited printed
        copies are available from the clerk’s office for parties in cases not subject to the court’s
        Electronic Case Filing program (ECF) under General Order 45);

                (2) Discussed the available dispute resolution options provided by the Court and private
        entities; and

                (3) Considered whether this case might benefit from any of the available dispute
        resolution options.

        Dated: 08-05-2011                                                   /s/ Ivy He, /s/ Liu Guifu and
                                                                            /s/ Charles Lee on behalf of
                                                                            Plaintiffs
                                                                            [Party]


        Dated: 08-05-2011                                                   /s/ K. Lee Boyd
                                                                            [Counsel]

       When filing this document in ECF, please be sure to use the ADR Docket Event entitled
       "ADR Certification (ADR L.R. 3-5b) of Discussion of ADR Options."




Rev. 12/05
